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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



Michele Marinari                              Chapter 13         14-19066AMC

                                               Case              2:17-cv-00922-GJP


   Appellee, Michele Marinari’ s, Brief Sur Appellant’s Appeal from the United States
Eastern District Bankruptcy Court’s Final Orders Entered May 17,2017 Dismissing Debtor’s
 Chapter 13 Bankruptcy Case Pursuant to Section 1307(b) of the Code and Final Order
 entered February 15, 2019 Denying Appellant, Murphy’s Motion to Reconsider, Vacate
and/or Amend the Bankruptcy Court Dismissal Order Entered May 17, 2017 Contrary to
                                      Applicable Law

      Debtor/Appellee asserts that 11 U.S.C 1307 (b) allows debtor the absolute right to
voluntarily dismiss her Chapter 13 case.

              Said section states that “on [the] request of the debtor at any time, if the
case has not been converted under Section 706,1112 or 1208 of this title, court shall
dismiss a case under this chapter and any waiver of the right to dismiss under this
subsection is unenforceable”.

       The code section is clear and unambiguous and affords the court no discretion.
Debtor’s position is supported by the 3rd Circuit case, Ross v. Americhoice FCU, S30 B.R
277 (E.D.R 2015). The third circuit agreed with the line of cases that recognized debtor’s
absolute right to dismiss. It noted that the court’s equitable powers under 11 U.S.C 105
were broad, but not unlimited.

       Recently, this line of cases was supported by IN Re: Perez (Bank D. PR April 24,
2017). Debtor incorporates the thoughtful and detailed analysis set forth by Judge
FitzSimon and Judge Chan in court when entering the orders upholding dismissal.

       Debtor filed in good faith. Debtor had no prior bankruptcy cases. Debtor was in
the case for over 3 years and had made all trustee payments until moving for voluntary
dismissal. Voluntarily dismissal was decided because of excessive and litigious pleadings
and expectation of time that was going to be incurred due to the creditor’s litigation
strategy. The creditor estimated five (5) days for trial in the joint pre-trial statement on a
case with a simple factual history. Debtor had a defense to the adversary action. She
had never met or spoken with or exchanged any writing with the plaintiff at the time
the Plaintiff entered into transactions with her ex-husband or corporate entities of her
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ex-husband. She made no statements or representations in writing or verbally to the
plaintiff. She was a nurse and did not do car restorations. Debtor was a victim of her ex-
husband and was the individual who was defrauded by him. Her testimony and efforts
led to his conviction of various crimes. Essentially, the creditor proceeded in a fashion
that made ongoing defense unaffordable for debtor. The restriction on refiling imposed
by Judge FitzSimon was reasonable and just for both parties. Debtor’s counsel
recommended the restriction for the benefit of all parties. The creditor presented no
request or suggestions for restrictions on refiling.

       Debtor, Michele Marinari, respectfully requests that this Honorable Court enter an
order upholding the decision of Judge FitzSimon and Judge Chan dismissing the
Chapter 13 case and denying to appeal.

                                                       Respectfully submitted,



                                                       Michael A. Cataldo
                                                       Attorney for Appellee
